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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,
                                                        Criminal Case No. 07-20076
 v.                                                     Civil Case No. 11-10738

 DOMINIQUE HARDIN,

               Defendant.
                                           /

                 OPINION AND ORDER DENYING DEFENDANT’S
              MOTION TO VACATE SENTENCE UNDER 28 U.S.C. § 2255

        Before the court is Defendant Dominique Hardin’s “Petition for Writ of Habeas

 Corpus Under U.S.C. 28 § 2255,” which the court construes as a motion to vacate, set

 aside, or correct the sentence. See 28 U.S.C. § 2255(a). The motion has been fully

 briefed. Having reviewed the briefing, the court concludes that “the motion and the files

 and records of the case conclusively show that the prisoner is entitled to no relief,” and

 so a hearing is not necessary. 28 U.S.C. § 2255(b); see E.D. Mich. LCrR 12.1(a); E.D.

 Mich. LR 7.1(f)(2). For the reasons set forth below, the court will deny Defendant’s

 motion.

                                     I. BACKGROUND

        On March 6, 2007, a federal grand jury indicted Defendant, along with several

 others, with conspiracy to possess with the intent to distribute and to distribute cocaine,

 cocaine base, and marijuana. Defendant pled guilty before the court on November 1,

 2007, after reaching a plea agreement with the Government pursuant to Federal Rule of

 Criminal Procedure 11. Relevant to the pending motion, the agreement, which was also
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 filed on November 1, stated: “Defendant acknowledges that he has a prior controlled

 substance felony conviction and that the Government has filed a sentencing

 enhancement information. As a result, Defendant knows that his sentence carries a

 twenty (20) year mandatory minimum.” (Plea Agreement 3-4.) In fact, the notice of

 penalty enhancement was filed some two weeks later, on November 16, 2007. On

 March 6, 2008, Defendant was sentenced to 240 months’ imprisonment.

       Defendant appealed his conviction, arguing he was denied the effective

 assistance of counsel because

       1) counsel failed to object to the government’s late filing under 21 U.S.C. §
       851(a)(1) of a penalty information; 2) counsel failed to advise Hardin of the
       240-month mandatory minimum sentence; and 3) counsel had a business
       relationship with attorneys who represented Hardin’s co-defendants and
       thus had a conflict of interest.

 United States v. Hardin, No. 08-1554, slip op. at 3 (6th Cir. Dec. 8, 2009). That appeal

 was dismissed without prejudice to Defendant’s right to file a motion under § 2255. Id.

                                     II. STANDARD

       Under 28 U.S.C. § 2255, a prisoner sentenced by a federal court may “move the

 court which imposed the sentence to vacate, set aside or correct the sentence” when

 “the sentence was imposed in violation of the Constitution or laws of the United States,

 or that the court was without jurisdiction to impose such sentence, or that the sentence

 was in excess of the maximum authorized by law, or is otherwise subject to collateral

 attack.” 28 U.S.C. § 2255(a). The defendant must demonstrate “the existence of a

 fundamental defect which inherently results in a complete miscarriage of justice, or an

 omission inconsistent with the rudimentary demands of fair procedure” in order for relief



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 to be obtained. United States v. Todaro, 982 F.2d 1025, 1030 (6th Cir. 1993) (citing Hill

 v. United States, 368 U.S. 424, 428 (1962)).

                                       III. DISCUSSION

        Defendant presents two main arguments in his motion. First, he claims

 ineffective assistance of counsel. Second, he contends that his sentence was imposed

 in contravention of 21 U.S.C. § 851(a)(1). The court cannot grant relief on either basis,

 because Defendant’s arguments fail as a matter of law.

                           A. Ineffective Assistance of Counsel

        Defendant posits three ways in which his trial counsel was constitutionally

 ineffective. First, he claims that he “was not advised that a crucial part of the Rule 11

 Plea Agreement, the statement that the Notice of Enhanced Penalty had been filed, was

 not in fact filed.” (Mot. 6.) Second, he says his trial counsel failed to object to the

 delayed filing of the penalty enhancement. (Id. at 8-10.) Finally, he contends that

 because his attorney shared office space with a co-defendant’s attorney, an

 unconstitutional conflict of interest existed. (Id. at 10-12.)

        The Sixth Amendment to the Constitution guarantees not only the right to be

 represented by counsel during most criminal proceedings, Gideon v. Wainwright, 372

 U.S. 335 (1963), but also the right to the effective assistance of counsel, Strickland v.

 Washington, 466 U.S. 668 (1984). The ineffective assistance analysis has two prongs.

 “To establish a claim of ineffective assistance of counsel, a defendant must prove that

 his counsel’s performance fell below an objective standard of reasonableness, and that

 this performance prejudiced the defendant’s case.” United States v. Doyle, 631 F.3d

 815, 817 (6th Cir. 2011) (citations omitted) (citing Strickland, 446 U.S. at 687-88, 694).

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 The “performance prong” evaluates the attorney’s performance according to an

 objective standard of reasonableness. The “prejudice prong” asks whether in the

 absence of the constitutionally deficient performance there would have been a

 reasonable probability of a different outcome. E.g., McElrath v. Simpson, 595 F.3d 624,

 630 (6th Cir. 2010).

               In many guilty plea cases, the “prejudice” inquiry will closely
        resemble the inquiry engaged in by courts reviewing ineffective-assistance
        challenges to convictions obtained through a trial. For example, where the
        alleged error of counsel is a failure to investigate or discover potentially
        exculpatory evidence, the determination whether the error “prejudiced” the
        defendant by causing him to plead guilty rather than go to trial will depend
        on the likelihood that discovery of the evidence would have led counsel to
        change his recommendation as to the plea.

 Hill v. Lockhart, 474 U.S. 52, 59 (1985).

                                   1. Advice of Counsel

        Defendant’s first contention is that an objectively reasonable attorney would have

 advised his client that the notice of penalty enhancement had not been filed. He

 contends that his attorney either did not diligently research whether the enhancement

 had been filed, or did not carefully read the plea agreement to reveal that it contained a

 false statement. A reasonable attorney, he says, would not have made either of those

 mistakes.

        The court need not reach this question of whether trial counsel behaved in an

 objectively reasonable fashion, however, because even if he did not, Defendant was not

 prejudiced. See Hill, 474 U.S. at 60 (declining to reach performance prong because

 defendant did not show that he would have rejected the plea agreement but for his

 attorney’s advice). The plea agreement undisputedly contained the false statement that


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 the enhancement had been filed, when it had not. However, the plea agreement also

 undisputedly indicated that Defendant was subject to a 20-year mandatory minimum

 because of the enhancement and the prior conviction. (Plea Agreement 4.) At the plea

 hearing the court advised Defendant of the mandatory minimum multiple times. (Plea

 Tr. 13-15, 17, 19, 26.) Three times during the hearing, Defendant explicitly

 acknowledged the 20-year mandatory minimum. (Id. at 13, 17, 26.) In light of his

 acknowledgment of his exposure, and notwithstanding Defendant’s present assertions

 to the contrary, there is not a reasonable likelihood that Defendant would not have pled

 guilty had he been advised that the enhancement had not yet been filed by the

 Government. See Brooks v. Edwards, No. 95-3775, 1996 WL 506505, at *5 (6th Cir.

 Sept. 5, 1996) (per curiam) (rejecting argument that counsel did not advise petitioner of

 the minimum sentence because the plea transcript showed that he had been advised on

 the mandatory and minimum sentences, and therefore prejudice could not be shown).

 For the rational defendant, in general the only factors affecting the decision to plead will

 be the likelihood of success at trial, likely sentence after trial, and likely sentence after a

 plea. The Government’s carelessness in not timely filing the sentencing enhancement

 did not affect any of these factors, and therefore there is not a reasonable probability of

 a different outcome.

        Stated another way, in the but-for world where Defendant had been advised the

 information had not been filed, presumably Defendant would have either demanded the

 Government file the enhancement before he entered the plea, or he would have pled

 guilty anyway and then argued that the court could not sentence him to an enhanced

 sentence as a result of the failure to comply with § 851. In the former scenario, the plea

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 likely would have proceeded after the Government corrected its error, and in the latter

 case, Defendant’s argument would have failed under United States v. Pritchett, 496

 F.3d 537 (6th Cir. 2007), as is described more fully below. Under no circumstance

 would knowledge of the Government’s mistake have altered the decision to plead.1

                                     2. Failure to Object

        Defendant’s second basis for arguing ineffective assistance may be disposed of

 in the same manner as the first. Defendant claims that it was constitutionally ineffective

 for his attorney to fail to object to the late filing of the enhancement. The court need not

 determine whether this failure to object was objectively deficient, because even if it was,

 Defendant was not prejudiced. See Hill, 474 U.S. at 60. Because he had actual notice

 of the mandatory minimum term, there is not a reasonable probability that he would not

 have pled guilty had his attorney objected in a timely manner. Had Defendant’s trial

 attorney lodged an objection either at the time of the plea or before sentencing, that

 objection would have been overruled based on Pritchett.

                                    3. Conflict of Interest

        Finally, Defendant contends his attorney for the plea—a solo practitioner—was

 ineffective because he shared office space with an attorney who represented a co-

 defendant. Prejudice is presumed “‘when the defendant’s attorney actively represented


        1
           Under Pritchett, which is discussed in detail below, 28 U.S.C. § 851(a)(1) is
 satisfied as long as the Defendant had actual notice of the enhancement. 496 F.3d at
 548. If Pritchett were not the prevailing law in this Circuit, and § 851(a)(1) were rigidly
 enforced, Defendant would only have benefitted from pleading guilty before the
 information was filed. This is so because he would have then been able to avoid the
 mandatory minimum at sentencing; accordingly, he would have been more likely to
 plead guilty had he known of the Government’s error. After Pritchett, however, this
 knowledge makes no difference.

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 conflicting interests.’” McElrath, 595 F.3d at 630 (quoting Mickens v. Taylor, 535 U.S.

 162, 166 (2002)); accord Moss v. United States, 323 F.3d 445, 455 (6th Cir. 2003).

        [W]here the defendant or his counsel objects to the conflict prior to, or
        during trial, the trial court must inquire as to the extent of the conflict or
        subject any subsequent conviction to automatic reversal. In the absence
        of an objection, however, a showing of (1) an actual conflict; and (2) an
        adverse effect on his counsel’s performance will void the conviction.

 Moss, 323 F.3d at 455 (citations omitted) (citing Holloway v. Arkansas, 435 U.S. 475,

 489-92 (1978)); see Cuyler v. Sullivan, 446 U.S. 335, 348 (1980). Defendant did not

 object to the purported conflict before or at the time of the plea, and therefore the court

 reviews the record for an actual conflict and an adverse effect.

        In Burger v. Kemp, 483 U.S. 776 (1987), the Supreme Court held the Sixth

 Amendment is not violated because two co-defendants are represented by two different

 attorneys who are partners in the same firm, even where the co-defendants have

 antagonistic defenses. 483 U.S. at 783-88. The Court first acknowledged that it is

 possible prejudice could arise where partners represent co-defendants, particularly

 where they collaborate on the case. Id. at 783. But the Court emphasized that there

 must be “actively represented conflicting interests and . . . an actual conflict of interest

 [that] adversely affected [the defendant’s] lawyer’s performance.” Id. (quoting

 Strickland, 466 U.S. at 692) (internal quotation marks omitted). The Court found the

 petitioner had established neither actively represented conflicting interests, nor an

 actual conflict or adverse effect. Id. at 783-88. While the inquiry into any conflict is

 necessarily fact-intensive, courts of appeals since Burger have consistently held that

 representation of co-defendants by partners does not necessarily rise to a conflict of



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 interest. See, e.g., United States v. Ramirez-Benitez, 292 F.3d 22, 28-31 (1st Cir.

 2002); United States v. Alvarez, 137 F.3d 1249, 1251-52 (10th Cir. 1998).

        In this case, the relationship between the attorneys is even more attenuated than

 it was in Burger because Defendant’s allegation is that the attorneys only shared office

 space, and were not engaged in a legal partnership.2 The Sixth Circuit has yet to

 consider whether the mere sharing of office space can be sufficient to lead to an actual

 conflict, although other courts have rejected Defendant’s argument. See United States

 v. Whitney, 180 F. App’x 670, 674 (9th Cir. 2006) (“[M]erely sharing office space does

 not establish joint representation for Sixth Amendment purposes.”); Allison v. Ficco, 388

 F.3d 367, 370 (1st Cir. 2004) (holding in a habeas case that the state court “reasonably

 found . . . that the . . . office-sharing arrangement was even less conducive to actual

 conflict than the Burger law firm”); Gray-Bey v. United States, 156 F.3d 733, 738-40 (7th

 Cir. 1998); United States v. Kindle, 925 F.2d 272, 275 (8th Cir. 1991) (“Solo

 practitioners sharing office space with common staff and materials is not unusual and

 such an arrangement does not necessarily cause a conflict of interest when

 codefendants are thus represented.”); United States v. Turchi, 645 F. Supp. 558, 561-

 62 (E.D. Pa. 1986); see also United States v. Urias-Bojorquez, 205 F. App’x 706 (10th

 Cir. 2006) (finding no reversible error where defendant was not given a Rule 44(c)3


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          Defendant’s motion at one point uses the word “partnership” to describe the
 relationship, (Mot. 10), but a full reading of his argument discloses that he offers no
 evidence of a legal partnership and instead relies on shared office space and a
 telephone number to infer a business relationship, (Mot. 11).
        3
          Federal Rule of Criminal Procedure 44(c) requires an inquiry by the court into
 potential conflicts in cases of “joint representation” where attorneys “are associated in
 law practice.”

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 inquiry and two attorneys shared address and fax number because there was no actual

 conflict); United States v. Varca, 896 F.2d 900, 902-04 (5th Cir. 1990) (“While members

 and associates in one firm may not represent conflicting interests, practitioners who

 share office space and occasionally consult with one another are not regarded as

 constituting a single firm for conflict purposes.”).

        The court holds, consistent with Burger and cases from other circuits, that while it

 may be possible to find ineffective assistance based on a conflict of interest where two

 attorneys who represent co-defendants are affiliated, whether in partnership or by

 sharing office space, the sharing of office space alone is not sufficient to create a

 conflict of interest. Because Defendant has not pointed to any evidence of actual

 conflict in his brief, his ineffective assistance contention fails. Instead, he urges the

 court to infer a conflict based on his incentive structure at the time of the plea. But his

 argument that he “pled out . . . as part of a package” and that “[t]here is no logical

 reason to explain his counsel’s advice to accept this plea” because his sentence “was

 basically what would’ve happened after an unsuccessful trial,” (Mot. 11), is belied by the

 record. As the Government’s response discloses, Defendant could have faced an even

 greater sentence if he had gone to trial because he negotiated the controlled substance

 quantity, avoided an additional charge, received the acceptance of responsibility

 reduction, and could have received further reduction had Defendant fully cooperated

 with the Government. (Resp. 5-6.) Because “the possibility of conflict is insufficient to

 impugn a criminal conviction,” Cuyler, 446 U.S. at 350, the court cannot grant

 Defendant relief based on his empty and unsupported allegation of conflict.

                                B. Title 21 U.S.C. § 851(a)(1)

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        Defendant’s final argument is a variation on his first two ineffective assistance

 claims. He states that the conviction and sentence must be vacated because the

 Government did not comply with 21 U.S.C. § 851(a)(1), which requires the penalty

 enhancement to be filed before a guilty plea is entered.

        The subsection of the statute, titled “Information filed by United States Attorney,”

 provides in full:

        No person who stands convicted of an offense under this part shall be
        sentenced to increased punishment by reason of one or more prior
        convictions, unless before trial, or before entry of a plea of guilty, the
        United States attorney files an information with the court (and serves a
        copy of such information on the person or counsel for the person) stating
        in writing the previous convictions to be relied upon. Upon a showing by
        the United States attorney that facts regarding prior convictions could not
        with due diligence be obtained prior to trial or before entry of a plea of
        guilty, the court may postpone the trial or the taking of the plea of guilty for
        a reasonable period for the purpose of obtaining such facts. Clerical
        mistakes in the information may be amended at any time prior to the
        pronouncement of sentence.

 21 U.S.C. § 851(a)(1). By its text, the statute forbids an enhanced sentence unless the

 United States Attorney has followed the prescribed sequence for the entry of the plea

 and the filing of the sentencing enhancement, see United States v. Pritchett, 496 F.3d

 537, 550-52 (6th Cir. 2007) (Cook, J., dissenting); Prou v. United States, 199 F.3d 37,

 43-44, 49 (1st Cir. 1999), and there is no question that the Government did not comply

 with the statute here. Understandably, Defendant argues that the court lacked the

 authority to enhance his sentence based on his criminal history.

        However, in Pritchett, the Sixth Circuit considered an indistinguishable case.

 There, the plea agreement referenced the mandatory minimum that flowed in part from

 § 851. 496 F.3d at 539. The defendant pled guilty, and the Government filed the


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 sentencing enhancement later that day. Id. at 539-40. After holding that the

 requirements of § 851 are not jurisdictional, id. at 546, the court held that the

 Government had satisfied the requirements of § 851(a), id. at 547. Pritchett reasoned

 that “section 851 ‘was designed to satisfy the requirements of due process and provide

 the defendant with reasonable notice and an opportunity to be heard regarding the

 possibility of an enhanced sentence for recidivism.’” Id. at 548 (quoting United States v.

 King, 127 F.3d 483, 489 (6th Cir. 1997)). The court found that because the defendant

 had reasonable notice and an opportunity to be heard—in particular because the plea

 agreement explicitly referenced the enhancement—the purpose of the statute had been

 met. Id. Therefore, “actual notice satisfies the requirements of Section 851(a).” United

 States v. Boudreau, 564 F.3d 431, 437 (6th Cir. 2009); see United States v. Gonzalez,

 512 F.3d 285, 290 (6th Cir. 2008).

        As in Pritchett, Defendant’s plea agreement referred to a filed sentencing

 enhancement, even though the enhancement had not been filed. Defendant signed that

 agreement, indicating he had read it. (Plea Agreement 10; Plea Tr. 23.) In addition he

 told the court during the plea colloquy that he had read the agreement and discussed it

 with his attorney. (Plea Tr. 23-24.) The court is therefore bound to follow Pritchett.

        Defendant’s attempt to distinguish Pritchett is unpersuasive. He claims that in

 Pritchett, the defendant “acknowledged that the Government was going to file the

 necessary documents for a sentence enhancement, and acknowledged that he

 understood everything in the plea agreement,” whereas here “there was never any

 mention whatsoever on record of a previous conviction.” (Reply 2.) But, as explained

 above, the test for whether the requirements of § 851 have been satisfied is actual

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 notice and an opportunity to be heard. To prove that the Defendant had notice that the

 Government intended to rely on his past convictions, it is unnecessary for the issue to

 be raised explicitly at the hearing; it is sufficient for notice to be contained within the

 plea agreement provided the court is satisfied that the Defendant has read the

 agreement. See Pritchett, 496 F.3d at 548.

          Defendant was given actual notice of the enhancement and the basis for the

 enhancement in the plea agreement. Moreover, he acknowledged that he “understood

 everything in the plea agreement” both through his signature and through his verbal

 representations to the court. At the plea hearing, the court asked Defendant’s attorney:

 “You advised your client fully, went through the agreement with him, I trust, and

 answered whatever questions he may have had concerning the agreement or its

 negotiation, is that right, sir?” To which his attorney responded: “Yes, we did, Your

 Honor, as to each paragraph and each provision and made a number of corrections.

 And we spent a lot of time with this one, and I’m particularly satisfied that the defendant

 is aware of exactly everything that’s going on. I’m satisfied with it.” (Plea Tr. 23.)

 Defendant himself agreed with those statements, and indicated that he did not think his

 attorney had failed to explain any of the terms of the agreement. (Id. at 24.)

          As a consequence, the court must also deny the motion to vacate on the basis of

 § 851.




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                                                 IV. CONCLUSION

          Accordingly, IT IS ORDERED that Defendant’s motion to vacate sentence under

 28 U.S.C. § 2255 [Dkt. # 421] is DENIED.



                                                           s/Robert H. Cleland
                                                          ROBERT H. CLELAND
                                                          UNITED STATES DISTRICT JUDGE

 Dated: May 27, 2011

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, May 27, 2011, by electronic and/or ordinary mail.


                                                           s/Lisa Wagner
                                                          Case Manager and Deputy Clerk
                                                          (313) 234-5522




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